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DEFENDANT :            MICHAEL GERBER

YEAR OF BIRTH:         1960

ADDRESS:                      Colorado Springs, CO

COMPLAINT FILED?              X     YES         NO

       IF YES, PROVIDE MAGISTRATE CASE NUMBER:               18-mj-01021-KLM

HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                    X    YES          NO

OFFENSE: Count 1: Assaulting a Federal Employee, 18 U.S.C. § 111(a)(1)
         Count 2: Cyberstalking, 18 U.S.C. § 2261A(2)

LOCATION OF OFFENSE: El Paso County, CO

PENALTY: Count 1: NMT 8 years’ imprisonment and/or NMT $250,000 fine; NMT
           3 years supervised release; $100 special assessment
         Count 2: NMT 5 years’ imprisonment and/or NMT $250,000 fine; NMT
           3 years supervised release; $100 special assessment

AGENT:        Special Agent Dana Gutierrez, Federal Protective Service

AUTHORIZED BY: Daniel Burrows
               Special Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:

  x   five days or less

      over five days

      other

THE GOVERNMENT will not seek detention in this case.

OCDETF case: _____ Yes            __x__ No
